        Case 1:19-cr-00500-SAG Document 136-1 Filed 11/01/20 Page 1 of 5



                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MARYLAND
__________________________________________
                                           )
UNITED STATES OF AMERICA,                  )
      Plaintiff                            )  Criminal No. SAG-19-CR-0500
                                           )
V.                                         )
                                           )
JONATHAN WILLIAM WALL,                     )
      Defendant                            )
__________________________________________)

      BRIEF IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS INDICTMENT
                        DUE TO PROCEDURAL DEFECT

       NOW COMES the Defendant, Jonathan William Wall, by counsel, and states as follows:

                                       RELEVANT FACTS

       The Indictment in this case charges the Defendant and ten other men with conspiracy to

distribute marijuana “[f]rom in or about January 2016, and continuing through April 2019, in the

District of Maryland and elsewhere.”

   THE INDICTMENT IS DEFECTIVE AND SHOULD BE DISMISSED BECAUSE IT IS
                   VAGUE AS TO ITS GEOGRAPHIC SCOPE

       “An indictment implicates a defendant’s constitutional due process right to reasonable

notice of the charges. An indictment is defective if it fails to apprise the defendant, with

reasonable certainty, of the accusation. A motion to dismiss an indictment tests whether the

indictment sufficiently charges the offense set forth against defendant. To be valid, [a]n

indictment must contain the elements of the offense charged and fairly inform a defendant of the

charge.” United States v. Elshinawy, 228 F.Supp.3d 520, 537 (D. Md. 2016) (citations and

internal punctuation omitted).

       “Fed. R. Crim. P. 7(c)(1) governs the required content and form of an indictment. It

provides that an indictment must be a plain, concise, and definite written statement of the

                                                  1
        Case 1:19-cr-00500-SAG Document 136-1 Filed 11/01/20 Page 2 of 5



essential facts constituting the offense charged . . . .Ordinarily, an indictment that tracks the

statutory language is constitutionally sufficient if accompanied with such a statement of the facts

and circumstances as will inform the accused of the specific offense . . . with which he is

charged. More specifically, an indictment is legally sufficient (1) if it alleges the essential

elements of the offense, that is, it fairly informs the accused of what he is to defend; and (2) if

the allegations will enable the accused to plead an acquittal or conviction to bar a future

prosecution for the same offense.” Id. (citations and internal punctuation omitted).

        THE PROBLEM WITH “ELSEWHERE” IN A MARIJUANA PROSECUTION

       The indictment states that Mr. Wall’s role in the conspiracy occurred “in the District of

Maryland and elsewhere.” [ Ex. “A.” Wall Indictment.] Elsewhere could be a state where

marijuana is completely legal. Assuming arguendo that it is not “completely legal” in Maryland,

whatever the elsewhere is still has a great deal of impact on Mr. Wall’s right to be noticed of and

prepare a defense to the charges. If the elsewhere is a state where cannabis is legal—in contrast

to a state where it is not—then this changes the posture and trajectory of the defense.

       For example, if the elsewhere is Colorado, then the defense to the conspiracy charge

might be that his actions were legal pursuant to state law and federal directives regarding

cannabis prosecution, which would bear upon issues of federalism, selective prosecution, and

vagueness, not to mention the witnesses and evidence that he would present at trial.

       The bottom line is that, due to the disparate and unequal ways in which cannabis laws are

being enforced in this country right now, the elsewhere carries real legal and equitable

significance.

       Further, that Mr. Wall is charged solely with the inchoate crime of conspiracy posits

another layer of confusion and vagueness that renders the Indictment fatally defective. United



                                                   2
        Case 1:19-cr-00500-SAG Document 136-1 Filed 11/01/20 Page 3 of 5



States v. Clarine, 138 Fed.Appx. 940, 942 (9th Cir. 2005) (dismissing conspiracy charge because,

inter alia, “the indictment alleging a conspiracy to have taken place ‘within the District of Idaho

and elsewhere’ left an open geographical area”); United States v. Cecil, 608 F.2d 1294, 1297 (9th

Cir. 1979) (indictment was defective because of, inter alia, geographic scope alleging that the

“the conspiracies occurred in Arizona, Mexico, and elsewhere”).

       An indictment for a law that is being unequally applied around the country must provide

more than simply inchoate claims and vague geographical references to satisfy due process. The

crime with which Mr. Wall is charged, 21 U.S.C. § 846, states: “Any person who attempts or

conspires to commit any offense defined in this subchapter shall be subject to the same penalties

as those prescribed for the offense, the commission of which was the object of the attempt or

conspiracy.” If a defendant is in situ where the offense is ostensibly legal, then this would bear

upon the elementary intent of “attempt or conspire” as enumerated in 21 U.S.C. § 846.

       This can be seen by the widgets example discussed in the Brief in Support of Defendant’s

contemporaneously filed Motion To Dismiss Indictment On Equal Protection Grounds. If,

hypothetically, widgets are treated as illegal in one state, but treated as perfectly legal in another,

and a defendant is charged with conspiracy to manufacture and distribute widgets, the

question(s) of where he: (1) allegedly (i) formed the intent as to the (ii) agreement to distribute

widgets; (2) where he was when took the step in furtherance of it is critical. This is because, with

conspiracy charges, we reverse engineer the requisite mens rea from the object of the intent,

which is the commission of a prohibited act, so that if the act is not prohibited in situ, then the

requisite mens rea for culpability is absent.

       “The existence of a mens rea [i.e., mental state or state of mind] is the rule of, rather than

the exception to, Anglo-American jurisprudence.” United States v. United States Gypsum Co.,



                                                   3
        Case 1:19-cr-00500-SAG Document 136-1 Filed 11/01/20 Page 4 of 5



438 U.S. 422, 436, 98 S.Ct. 2864 (1978) (citation omitted); Ruiz v. United States, 146 F.Supp.3d

726, 731 n. 7 (D. Md. 2015). Mens rea can include, among other mental states, “specific intent,

general intent, presumed intent, willfulness, and malice.” Voisine v. United States, 136 S. Ct.

2272, 2281 (2016). “A conspiracy charge under 21 U.S.C. § 846 [such as in this case] takes the

mens rea requirement of the underlying offense.” Bruff v. United States, 2015 U.S. Dist. LEXIS

116728, at 9 (D. Md. Sep. 1, 2015) (citation omitted). “And … that section requires only the

‘specific intent to distribute a controlled substance.’” United States v. Ali, 735 F.3d 176, 186 (4th

Cir. 2013).

       Thus, if mens rea is absent because, for example, the Defendant had no intent to

distribute a controlled substance because it was not a controlled substance in the state where the

Defendant was present, then there is no conspiracy.

       In sum, the usage of elsewhere in the context of an indictment for cannabis in 2020,

ought be sufficient to dismiss the Indictment for being overly vague and not noticing the

Defendant of the charges against him in a manner that comports with due process. Coupled with

the fact, however, that he is the only Defendant charged with the inchoate crime of conspiracy in

this Indictment and the charging instrument is fatally defective.

       WHEREFORE, the Defendant respectfully requests that the Indictment be dismissed.



                               Respectfully submitted this 1st day of November, 2020

                                       s/Jason Flores-Williams, Esq.
                                       1851 Bassett St., #509
                                       Denver, CO 80202
                                       3035144524
                                       Email: Jfw@jfwlaw.net
                                       Counsel for Defendant Wall
                                       PRO HAC VICE



                                                  4
        Case 1:19-cr-00500-SAG Document 136-1 Filed 11/01/20 Page 5 of 5



                                     s/J Wyndal Gordon
                                     J. Wyndal Gordon
                                     THE LAW OFFICE OF J. WYNDAL GORDON, P.A.
                                     20 South Charles Street, Suite 400
                                     Baltimore, MD 21201
                                     4103324121
                                     Fax: 14103473144
                                     Email: jwgaattys@aol.com

                                CERTIFICATE OF SERVICE

        I hereby certify that on this date of November 1, 2020, I electronically filed the within
document with the Clerk of the Court using the CM/ECF system which will send notification of
such filing(s) to all counsel of record.


                                                     /s/ Jason Flores-Williams
                                                     Jason Flores-Williams




                                                5
